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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    BRIAN RICHARDSON, et al., individually
    and on behalf of all others similarly situated,              No.: 5:15-cv-06325-WB

                 Plaintiffs,

                v.

    VERDE ENERGY USA, INC.,

                 Defendant.



                        PLAINTIFFS’ UNOPPOSED MOTION FOR
                PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

          Plaintiffs Brian Richardson, Michelle Hunt, Jacqueline Bowser, Kris Villager, and Donna

Schley (“Plaintiffs”) respectfully move this Court pursuant to FED. R. CIV. P. 23 for entry of an

Order:

          (1)     preliminarily approving the proposed Settlement 1 of this Action as set forth in the

Parties’ agreed-upon proposed Preliminary Approval Order, attached as Exhibit A to the

Settlement Agreement;

          (2)        preliminarily certifying, for purposes of the proposed Settlement, the Settlement

Class defined in the Settlement Agreement;

          (3)        approving as to form and content the Notice of Class Action Settlement (the

“Notice”) and the Claim Form, attached, respectively, as Exhibits B and C to the Settlement

Agreement;



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  Unless otherwise stated, all capitalized terms used in this Motion are as defined in the Stipulation
and Agreement of Settlement dated as of August 14, 2019 (the “Settlement Agreement”). A copy
of the Settlement Agreement is attached to this Motion as Exhibit 1.
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       (4)     approving the proposed procedures for dissemination of the Notice in the manner

set forth in the proposed Preliminary Approval Order, as being the best notice practicable under

the circumstances and in accord with the requirements of due process and FED. R. CIV. P. 23;

       (5)     appointing Angeion Group, LLC to serve as the Settlement Administrator;

       (6)     preliminarily appointing, for settlement purposes only, Shanon J. Carson and Lane

L. Vines of Berger Montague PC, W. Craft Hughes and Jarrett L. Ellzey of Hughes Ellzey, LLP,

Joshua Arisohn of Bursor & Fisher, P.A., and Ari H. Marcus of Marcus & Zelman, LLC to serve

as class counsel;

       (7)     determining the date of the Final Approval Hearing; and

       (8)     establishing deadlines for filing papers in support of final approval of the

Settlement, the Plan of Allocation, the application for attorneys’ fees, reimbursement of Litigation

Expenses and approval of Service Awards to the Plaintiffs, and for Settlement Class Members to

request exclusion from the Settlement Class, make objections to the Settlement, or the application

for attorneys’ fees, reimbursement of Litigation Expenses and Plaintiffs’ Service Awards, and file

Claim Forms.

       The grounds on which this Motion is based are set forth in the accompanying Memorandum

of Law filed herewith. Accordingly, Plaintiffs respectfully request that this unopposed Motion be

granted and that the Court adopt and enter the Parties’ proposed Preliminary Approval Order.




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Dated: August 16, 2019                     Respectfully submitted,

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                                           Attorneys for Plaintiffs and the Proposed Class




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2019, I caused the foregoing to be electronically filed

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel of record.



                                             /s/ Shanon J. Carson
                                            Shanon J. Carson




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